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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


CYNTHIA COLACCHIA, f/k/a CYNTHIA ROBERTO,                     :
                                                                    CIVIL ACTION
                                                              :
       Plaintiff,                                                   No.: 2:17-cv-00411-TJS
v.                                                            :

MIDLAND FUNDING LLC,                              :
a foreign limited liability company,
and MIDLAND CREDIT MANAGEMENT, INC.,              :
a foreign for-profit corporation,
        Defendants.                               :
_________________________________________________

                    STIPULATION OF DISMISSAL WITH PREJUDICE

       It is hereby stipulated that, pursuant to the agreement of counsel and Rule 41.1(b) of the

Local Rules of Civil Procedure, the above-captioned matter has been settled and is dismissed

with prejudice, with each party to bear their own costs.


/s/ Joseph M. Adams                              /s/ Lauren M. Burnette
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Dated: November 4, 2021
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                                  CERTIFICATE OF SERVICE

       I hereby certify that on November 4, 2021, a copy of the foregoing document was served

on all counsel of record via CM/ECF.

                                                         /s/ Joseph M. Adams
                                                         Joseph M. Adams, Esq.
